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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

             -against-                                             ORDER

 MOUSA SHAHIN,                                                 20 Cr. 541 (PGG)

                          Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              The sentencing of Defendant, currently scheduled for February 12, 2021, will now

take place on April 30, 2021 at 12:00 p.m. Any submissions on behalf of Defendant are due on

April 19, 2021, and any submission by the Government is due on April 16, 2021.


Dated: January 8, 2021                            SO ORDERED.
       New York, New York

                                                  _____________________
                                                  Paul G. Gardephe
                                                  United States District Judge
